Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 1 of 44 Page|D #: 1305

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DECISION/ORDER

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Defendant(s)fkespondcnt(s) ` "

 

 

 

 

 

 

 

Pag=a 1

 

CIVIL COURT OF Tl-IE CITY OF NE,W YORK
COUNTY OF BRONX: PA.RT 34

September 15, 2015

 

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mem Ne. 11024/`09
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NOTIQ E OF MO'I"ION

 

Kevulieh & Asseeietes, P.C.
At'tomeys for Pleintiff

"'-E =‘1 Hd Z- 335 §§§3

Motien Term: Pert 34, Room 503
Civil Court of the City Of New York
County uf Bronx

851 Grend Con.eourse

Bronx, NY 10451

Affirmetion of Gery M. Kevulieh, Eeq.,

dated Augusl 21, 2015 end upon all the
papers and proceedings heretofore and

.......................................................... x
PRANA GROWTH FUND 1 LP,
Pleinlif`f",
* against -
ANDRES RAUIJA-RODRIGUEZ,

Defendnm.
__________________________________________________________ X'
MOTION BY:

DATE, “IIM.E AND PLACE
OF HEARlNG:

9:30 A.M.
SUPPC)R']`ING PAPER.S;

herein
RELIEF REQUESTED:

Order, restoring the within proceeding m the

Court’s ealender, awarding P]aimiff a

Pag: 2

Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 3 of 44 Page|D #: 1307

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judgment in the Sum 01"$3,591.88 plus
interest from Oetober ], 2006, and for such
other and further relief as 10 this Court may
seem just end proper.

Dated: Port Chester. New York
August 21, 2015
Yeurs Ete.,

 

,/ _
By: Gery M. Kevulicl¥;i€§q.
Kevulich & Associetes, P.C.
Attomey’s for the Plsintift`
181 Westchester Ave., Suite SOOC
Port Chester, NY 10573
(914)355-2074

To: Andres Reude-Rodriguez
561 west zvs"* stress Ape 44
New York, NY 10033»~8214

 

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CWIL COURT OF Fl`i~iE CITY C)F N`EW YORK

counts or s'rtonx; east 34 lease NO- l 1034/99
.......................................................... x FileNt).1619
maria oaowrn stan i. t_,r,
instead AFI~.;_.…`IRMATI_..__ON IN
seasons

~ against -
ANDRHS RAUDA-RODIU.GUT£Z,

Det`endant.

.......................................................... X

Gary M. Kavulich, Esq., an attorney duly admitted to practice law before the
Cotn'ts of the State of New York hereby affirms the following under the penalty of
perjury.

l. l am a member of the law firm of \Kavulich dc Associates, P.C., attorneys for the
Plaintiff, herein, As stich, I am fully familiar with the facts and circumstances ol" the
within proceeding, except as to those matters stated to be based upon information and
beliet`, and as to those matters l believe them to be trne. 'fhe basis of my belief is
information furnished to me by my c.lient, information contained within the C`.onrt’s fiie,
and information contained within the file as maintained by your Ai:`tirntant's office

2. I make this affirmation which seele an order directing the Clerk of the Conrt to
place the instant matter on the appropriate calendar, for a judgment in the sum of"
53,591.38 plus interest from Octobcr `l, 2006, and for streit other and l` either relief as this
Court may deem just and proper.

3. I’laintiff commenced the within proceeding against Dcfeittlttn.t for breach of a
lease agreement by serving the summons and complaint on l)efendant on or about

Febrnary 13, 2009. Annexed hereto as E>rhibit “l” is a copy of the summons and

l'-'sge 4

Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 5 of 44 Page|D #: 1309

complaint. Annexed hereto as Exhibit ‘*2” is a copy ol` the afi'idavit of service of said
summons and complaint.

4. Thc [)et`endant failed to mal<.e an appearance in the within proceedings and on
April l4, 2009, Plaintii"f obtained ajudgment against I_`)ei"enda.nt in the amount of
$3,927.35. Anneited hereto as lil:~:hibit “."i” is a copy ot"said judgment

5. 'l`hereat`ter, Plaintil`t"‘ commenced execution measures to satisfy the judgment.

6. Your At`iirmant was able to determine that the Dciendant was employed leon
Parlcing Bystems, LLC.

7. As such, on or about l\/Iarch 4, 20l4, Plaintil"t` caused an income execution to be
served upon leon Parlting Systems, LLC.

8. “l“`hereafter, on or about April 23, 2014, Defendant made his first appearance in the
within proceeding by filing an order to show cause and an answer averring that be did not
receive a copy of the summons and complaint and admitted that he did owe money to
Plaintit`f but disputed the amount of the debt. Annexed hereto as Exhibit “4” is a copy o'f
Defendant’s order to show cause Annexed hereto as Exhibit “5” is a copy ot` Dcfendant’s
HHSWGI`.

9. Tliereafter, on lvlay 9, 2014, Defendant’s motion to vacate the judgment was
granted Annexed hereto as Exhibit “5" is a copy of the eCourts motion detail.

lO. To date, the within proceeding has not been restored to the Court’s calendar
despite your affirmant’s urging of the Clerlt’s oi`lice to do so,

11. As there has not been a final decision in this matter_, Plaintiff’s claim against the

Del`endant is still outstanding

Paos 5

Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 6 of 44 Page|D #: 1310

 

 

 

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12. Therei`ore, your affitrnant respectfully requests an order directing the Ci¢rl< Ofih€
Court to place the instant matter on the appropriate calendar, for aj“d§mem in the gum mr
$3,59\.88 plus interest from C)ctober l, 2006, and for such other and further relief as tO
this Court may seem just and proper.

Wl‘lEREFORE, your afl"tt‘t‘ttant respectfully requests that this motion be granted in all
respects and for such other and further relief as this Court may deem just and v

   

Dated; Port Chester, New Yorlt
August 21, 2015

 

‘ay; os'ry iranian ssa
Kavulich & Associates, P.C.
Attorney’s for the Plaintiff

181 Westchestcr Ave., Suite SODC
Port Chester, NY 10573
(914)355-2074

 

Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 7 of 44 Page|D #: 1311 ' §

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CV-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 8 of 44 Page|D #: 1312

 

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CWIL COUR'I' Ol" THE CITY OF' NEW YORK
COUNTY OI" ERON'X

Prana Growth Fund 1 LP.

names mesa act
ran No. mt s

~against~
SUMMONS
Place ofVonue is l-`laintill"s

place of business:
Andres Rauda~ Rodriguoa.

1380-82 White Pla.ins Road
Brorut, NY 10462
Defendmtt(s)

----+ -----

'l`o the above trained defendants[s):

 

-X

YOU ARE HER.EBY SUMMONED to appear at the ClVI`L COUR'I’ OF THE Cl'l"Y OF
N'EW YOl?.I{. COUNTY ClF BRONX at the office of the clerk of the said Court at 351 Grand
Concoursc, Brot‘tx, NY 10451. in the CDUN'I'Y OF BRONX, State ochw York, within the
time provided by law as noted below audio file an answer to the below complaint with the
clerk: upon your failure to answcr, judgment will he taken against you for the sum o
with interest maroon from October l,l 2006 together with costs of this acli

 
 
  

DATED: Jar\uary 19, 2009

By: Gary a lich, Esq.,
Kavutich & ssociates, li'.C.
Attorney for Plaintit`f
30 C`hurch Street
Suite 26
Ncw Rochcllc, NY 10301
(914) sss-2074
t’ as :

Andres Rauda- Rodriguoz

561 W l'I4th Strcct, Apt. 44

Ncw York, NY 10033-3214

Noto: The law provides that: (a) If the summons is served by its delivery to you personally
within the City ochw Yorlc, you must appear and answer within TWENTY days alter such
scrvico; or (b) It'the summons is served by any means other than personal delivery to you
within the City of Now Yorlc, you must appear and answer within ‘I‘HIRTY days after proof ot‘
service thereof is lilorl with the Clerk of this Court.

F'age B

 

Case 1:16-Cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 9 of 44 Page|D #: 1313

 

COMPLAINT

FIR§T ,;§CTIQQ: Plaintiff seeks to recover damages from d¢f¢“dani(si fm breach oh lease
agreement in the sum of 33,091.38 representing rental arrests i`or the menth Oi' D¢'°bm' 2006
balance ersart.ze; Nsv¢mssr, roos through ma remains an“srr- 2007 *“ the “g’"'°d
munile sum ot' $873.54 for the premises known as 1380»82 Wltite Plains Road, Apl.$B
Bt"t.it'tx, NY l0462 together with costs and disbursements Df` thi$ million and for web other and
further relief as the court may deem just.

§EQQNQMM: t’|aintit'f seeks to recover damages from the defendant in the sum of $O.OO
\'\°-’Pr¢senting damages together with costs and disbursements ot` this action and t`or such other
and iilr'tht:r relief as the Coult may deemju$t.

THIRD A§E'TION! Piaintift`sceks to recover damages from the defendant in the sum of _
S$O0.00 representing reasonable attorneys fees together with costs and disbursements Df`thl~‘i

action and for such other further relief as the Court. titay deem just

WHEREFGHE. PiHintit`t`dttmandsjudgmcnt (A} on the I"irst Action, in thc sum of $3,09] .S$
titles interest from Octobcr t, 2006 together with costs and disbursements of this action and for
rush other and further relief as the Court may deem just, (B) on the Seeoncl Action, in the sum
Df 0.00U PlUS interest from O¢tober i, 2006 together with costs and disbursements of this
action and for such other and timber relief as the Court may deem just, (C) on the Third
As-l.i¢n, 511 the wm Of 5500.00 together with costs and disbursements cf this action and t`or
such other and further relief as the Cotnt may deem just,

'I"be Plaintit"l‘in this action is NOT required to be licensed by the Ncw York City
Department ol` Consumcr A[I`airs.

Fags a

Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 10 of 44 Page|D #: 1314 w

 

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_ _Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18

AFFHJAVIT OF SERVICE
CIVIL C`OUR'I` OF 'I'H]Ei ClTY OF N'EW YORK
COUN'I`Y OF BRONX

Attorneys: K.nvuiieh di Assoeiates, P.C.
Address: 30 Chureh i:itreet1 Suite 26, New Roehelle, NY mgm

PRANA GROWT'H FUND 1 LP-

Page 11 of 44 Page|D #: 1315

lndnx No. 11024f09
Filed:

 

FileNo. 1619

 

vs.
means nnur)A~RoDmounz,
Statn ofNew Yorlc Connty of'aneen SS:
QLULEQH§, being duly sworn deposes end enys:
Deponertt i.t not n party hetein, is over iii yean ofoge. On E§MJM a

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Compiaittt cm ANDRF.'S RAUDA~RODRIGUEZ, Defendcnt theritt named

ludividu.el By delivering n true copy ofeacl't to said recipient deponent le“' me P'¢m'n

{] curved le he lhe person described ns said person thorein.
Cnrpomtinn By delivering to md leaving with and that deponent knew lh¢
i l person ed served and authorized to accept service nn behalfof`the Corporation
Suitnble Age By delivering a true copy of each to a person of suitable age and discretion w
Person Seid premises is recipients I ]nctun.l place of business [X] dwelling house within the § `j
[X] state ¥‘. 1

Aff`t.l<ing By affixing n true copy ol'eaeh to the door ol'tmjd premieee, which is recipients `:
to Doot“ [ } dental place of husineee [X] dwelling horne (pinee of nbode) within the state

nn .
Mnil Copy Gn §Mdepoocnt completed service under the last two sections bj: -'-‘;
[ 1 depo$iti.ng n copyl ofthe Sum.mnns and Complaim to the above address in a 1" ` _

Cleee properlyl addressed enveiope limited “I"ernonei and Coniidentiai" in nn omeinl
depository under the exclusive cure and melody ol`tbe United S'ettee Posr Offico in the Sme

of New Yorit.

Deponent was unable, with due diligence to find the recipient or a person of suitable age

and discretion having called t.i'tereat:

011 lite day of et
\'.`.ln the day of at
fin the day of at

Dese'riplinh A dencriptinn of the anendant, or other person served on belleffoi'lhe I)ei`endnnt
[] So)t;__,I-;”, Color ol'ekin: _Hf§,li Color ci`Hnir: RLH Age: L‘S_-§i_i,l, ileight; §'§" Weight: j_tiili,,,fi§

Milite.ry Svoe Deponent asked person spoken to whethertbe recipient was presently in military
[X] service oftbe Unitnd Smtes not-eminent or ofthe Sune ol'New York and wm

Other

  

 

informed that the recipient is poe tteclpient wore civilian clothes end no military uniform

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 12 of 44 Page|D #: 1316

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 13 of 44 Page|D #: 1317

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anendnnt(e); KAVULlCH dr AESOC
. " EET, SUITE 23. NEW
monies RAqu~noonrouEz §%§u`é'§€; §;Fi 0391-
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|..e\‘-s Gotmtorelnim omni $Oloo Smm FW $25_00 Enfmmmm iron $dD.DO
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Jt.tl“y Domand $0.0D
T°l“| flowers records reel core s environmean srao.oo Judgrnnm rural $3.927-85

Tho following named partios, addressed and identified as creditors boiow:

Plainlifi ereditdr(s) and ndr;ire$a.
(11 F'RANA erroer ruer 1, tr

1380‘82 WH|TE FLAiNS RD. EiRDNJ<, NY 10462~
Shall recover of the following partins, addressee end ideni'med ns debtors boiow:

Deiendant debtor(s) and address
iii ANC|RES RAUDA~RODR|GUEZ

551 W. lT-flTH STREE`T` #44, NEW YORK. N"t' 10033-

 

dudgment entered at tire memo County Civii Court, 551 Grend Goneourse, Bronx. N‘r' 104511 in the STATE OF NEW YC¢RK
trt the ioiai amount of 53,927.85 orr 041141'200§ et 12:18 PM.

Judgmnnt sequence 1

 

Jaek Banr. Chidf Cltirit Civii Gourt

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P::gc 13

er:e§eot*l@%%l@zr<;B/WLMDocumem§§z erect 01/29/18 page 14 Or 44 pattern "

 

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 15 of 44 Page|D #: 1319

 

 

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Pl=t]'tt~tA dsdlj::a§::§_l_, Lt“»‘ TD mswg§££§r;£:o$l§dat, snd_vecste :a}tltjg,;
ANDRES RAUDA- RODRIGUEZ judgment, liens_srtd c§nt:orotl:nr;jr;t::titrons on
:llgi:dp?ird[}j;:ot:l] lri`rtlsn‘.'ri€:r‘ct:ii'udisrnissiftE, the action
HPON the annexed affidavit ofANDm-jg RAUDA_RGDRIGUEZ, :.;WOm to Olt April 23, 2014, and tJPDrt all papers

 

  
  
    
  
    
   
 
   

end proceedings herein:

L=‘-t the Claimsotts)fl’laiotittls) er t:institutionsrttnltrr(e} stromi=y(s) show cause etc
Bronx Civil Conrt
851 Gr:tnd Coneourse
h_B_romt, New 1ii'or'k 10451
Far_t 34 Roont 503
on MAY 9, 2014 tit 9:3{] AM
or as soon thereafter ss counsel may be liesrd, why en order should not be mode:

VACATING the ludgment, and all income executions end restraining notices, ii` eny, restoring the esse to the
oolendsr, deeming the proposed answer filed end/or dismissing the notion it` worrentecl, endfor granting Suoh and
further relief ss may be just.

PENDING the hearing of this Order to S'itow Csttse end the entry of an Ordet‘ thereon, let ell proceedings on the
port ot`l;he C|oimunt(s)f[’laintiff(s), Cioiment(s)/Pleintifi`(s) ettomey(s) end ogent(s) and any Ms.rshei or Sherif'l` rol"
the City oFNew York for the enforcement oi" said Judg.ment be steyed.

SERVIC`E of o copy of this Dt"der to Sl'low Couse, end annexed Al‘l`tdzwit, upon lhe:

Cloiment(s]fPleintifl`(s) or named sttorrtey(s): Sherit`t` or Marshal:
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by Personsl Service by " in bland Delivety" m__,__ by Personsl Serviee by rt in bland DCHVBW,,

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Certif'leete ol`i\/leiling Cet.'til'teote of Mziiiing

on or before APRII,E’J. 2014 , shall be deemed good and sufficient

PRDOF OF SUCH SERVYCE may he l'tlcd with the Clet'it itt the Part
indicated above on the return time of this Drder 10 S|mw Cnu$¢,

Mail to Attorney or party'. Sherift`/Mursttal:

l<svulioh & Assoeiates PC {C`ounsel t`or i’ltt`), at NYC Msrshnl
131 Westehester Avenue, St.liltt SOOC, Biegel, Slephr::ril Marsha[

Port Chestet', New Yotit 105?`3 109 W 38 Street
Suitr: 200
New ‘r’orl<_, N`t’ 10018»3615

Apt‘il 23, 2014
DME i~lon. R.uben Frsnco, Civil Court lodge (“NYC)

 

 

Pagd 15

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index rt CV-U 1 1024-09!1?»3\{
to show cause to

 

Ci\ril Coul't oftltc Ct'ty of New Yori»‘., Coumy ofBl,o“K der
FRANA GRDWTH FCND ll LP Affidovit in support ofcn or m anyjudgmem’
-aga i ma t _ restore oesc to the celerider, vacah‘g defendant nn
ANDREE RAUDAHRODHGUEZ liens and income executions on 1. t
;!li;t!vn:i::prd::db:r:swer or dismissing lite action
____.._.._-

 

Stetc ofNe `x"ot”k. C.ounty of New 't’orit:
S RAUDA-RODRIGUEZ.,bcirtg duly sworn, deposes end SBY55

ndant*s lnitinls)
e) l em thc Party named as (Dctenderit)(l{espondent) initio above titled o¢imn __________

is action. [NO'I`E'. lt Smsi
as [NOTE: il`you complete any

   

 

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skip #5, #4, #S. and go to Ht'r]

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ocopy dl' t omc xe t'ion tow r _“
given M§G£._ju M el §_ iCd"lr"F __ __“ __
"""" -“ " “ as.~_,."";s,e“""""' win ' ';-ere“ essM';/eo'¢‘%oro§i*'crceeé" " '“”,¢»’“"
3 ii I dFQ§:pi-rcar ener in t t Clcrlc's Oiiice beesoso:|NDTE' if you complete Ss, stop end go to #til.
otot\ir minus tent twice otn~;j=\drm Amr-tir~new _m

 

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and l received rt date l“or trial

but the answer was entered late

Othcr: _.,_

4. Dt't thc Datc of‘n'inl hef`orc Judge/Arbitretor

s stipulation(a written egrcenient) wes me
a judgment was entered etter the triol.

a judgment wes entered against me by default t`or my failure to eppcnr.

Ot.l'ter:

de between cleiment/plaittti‘lt` and defendant

 

5. My reason for not
complying with the stipulation is
t'ollowing thc order of the Court is -
appearing in court orr the date scheduled t`cr trial is
Othcr: “_
f _.-..
that i have a good defense b§rjt
.r-" l"l r? . {__--

7. \_M aj l have net had a previous Order to Sltow Csose regarding this index nnmber,
h) l have held a previous C')rder to Sltow L`suse regarding this index number but l am making this application

 

 

 

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Lt.££l
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becausc‘.
3- K_/M request that the Jodginent be vocaled, that the case be restored to the oeiender, that the answer bc deemed-__
timely filed and permission to servci.tte;e.pe.pors-is-pcrsem-

 

 

,...,...._-_ ...-em-

Sworn to before mier day Ap_ril 23, EOld _ l j F .
¢"`:__ 5 C ( (sign t~tsms) `tl./ _CY¢-' //:/),L-,_L, /»g:_
ff"” " _, ANDRES R.AUDA-RGDRLGUE;L

Sigrteturc/pf-'gotirt E.mpic_',tec and Tit|c 561 W_ 174TH STREET #44

NEW YORK, New Yort.; 10033

 

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P:lgt: ‘lE

 

 

 

 

 

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iii
Court;: Bronx Count:y Ci\rit Court iii
index Numeet-: cv- sneed cts/ex ii
CaSE Natt‘tet: PRANA GRC|WTH FUND 1 LP vs. ANDRES RAUDA RODRIGUEZ " l
Cese Type: Civit l
Motion Information: ii
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§§_n}_i?_r§t' Fi|t'-:r.l fix itt’tlol ‘)~'.\ttqltt __`ll“int:tttt o_t _!.'.t_t tittrti»rfj…n» » it;';s:-r-;tg;iorw D;ttt;__i§`§`$l_¢_`}_f§__§i____l_';:f_`€i_'€iii.... i
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INDEX NO: l 1024f09

CIVIL COURT C)F TI~‘IE CITY OF NEW YORK
COUNTY OF BRONX: PA_RT 34

 

PRANA G“ROWTH FUND l LP,

Plaintiff,

~ against ~

ANDRES RAUDA-RODRIGUEZ,

Dei`endsnt.

 

NOTICE OF l\/IO'I`ION TO RES“}“OR..E

 

Signatttre Rt;tlo 130-1.1-n

    

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‘l"' a
Print Nerno Beneeth - Cinr),' M. Kevb'l'l€t, Esq.

 

Kavtllieit de Assooiate:s, P.C.
Attorney for Plaintii`f

131 Westohester Ave., Sttit'e 500-fl
Port Chosi'et“, NY 10573

(914) 355-2074

stage 19

Ca§é""`i`§16-cv-01627-CBA-RL1\/i """`t§c">éii`r`ii§H`i""i§"§`f"`é""""`ii`i`l"é`d"`01/29/13 Page 2`0 ot`44 PagelD #: 1324

ClVlL COURT OF 'l`HE CI"l"Y OF NEW YORK

l ' `. T 34 ll`l£l€}{ NO. l 1024/09
COUNTY“?_FH.?§?§§_-]:§& ______________________ x 171]¢ `Ng, 1619
PRANA GROWTH FUND l LP,

Plfiilltiff, AMI:EL,KM.…HWMQL
SERVICE

- against -

ANDRES RAUDA~ROIJRIGUEZ.,

Del"endant.
__________________________________________________________ X

Gary M. Kavulioh, Esq., an attorney duly admitted to practice law before the
Courts of the State of New York hereby affirms the following under the penalty of
perjury.

On Aug,ust 21, 2015 1 served the within notice of motion to restore upon Andres

Rauda-Rodriguez the Defeiidant in this action, by depositing a true copy in a post-paid
envelope addressed to:

Andres Rauda~Rodriguez
561 Wesr 174"‘ stress Api. 44
New York, NY 10033-3214

in an official depository under the exclusive dominion and control of the Ut '

Statcs
Postal Servicc within the State ofNew Yorlc via regular first class tn '

 
 
  

 

Gar;' M. Kavul'ich, lEsq.

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l ll ill " l ` oactstonronos:s
" "I'l"x'@seln_: rizan MIQNY EANNATARQ

\`Hon. * _ _,..m
` ‘ ‘ - ..Tudge, Civil Court

 

 

 

 

 

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CaSe 1.16-0\/- 01627- CBA- RLl\/| DOCUI‘T"\`ET“IT"` 5'5-l 2 Filed 01/29/18 Page 22 Of 44 F’<';tgje|[)l #. 1326
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Ceunty of`Brons Part39 ll ii if Ll>
..-"J `

 

       

 

 

PRF\NA GRQWTi-l I:`UND 1, LP

`again§l~' Fl`o restore ease to the calendar, and vacate any
ANDRES RAUDA RODRIGUEZ ?W bhd A k indg;m,_mn ii¢m~, and income exceptions on tins
` l ‘ -? -"1 iv iii lt l defendant on this index number,

allow proposed answer or dismissing the action

UP()N the annexed affidavit oFANDRFS [LA.UI`)A ROIJRIGU l `2' sworn to on r-\pril 23, El)ld, and lll“-’On ali PHPWS
and proceedings herein:

Letthe Claimant(s)/i’laintil"l"(s) o1 Clannant(‘»)i'l’lalnttli(s) attorney/lsi allan CHU$C iii
Br en.\' Civii Court
851 Grund Concnurse
Hronx, New Yerk 10451
Part 34 R.eom 503
en MAY 9, 201-t at 9:3(},*\[\’}
or as soon thereafter as counsel may be heard_, why an order should not be made:

 

VACATING the Judgment_. and all income executions and restraining notices, il`any, restoring the case to the
calendar, deeming the proposed answer filed and!or dismissing the action il` warranted and/or granting such and
further relief as may be just.

l"’IiJNl)ING the hearing oi` this Order to Show Cause and the entry of an Order thereon, let all proceedings on the
part of the Clairnant(s)/Plaintifl`(s)_. Claimant{s)/Plaintil'i`(s) attorney(s) and agent(s) and any Marshal or Sherili` ot`
the City ol` New York for the enforcement ot` said .ludglnent be stayed.

SERVICI:`. of a copy of this Order to Show Cause, and annexed Allidavit_. upon the:

Claititant(s)/Plaitttiff(s) or named attorney(s): Sherif"l" or Marshal:
(.ludge to lnitiai) (Jutlgc to tnitial)
by Personal Service by " in l-`lancl Delivery" by Persnnal Service by " in l-land Delivery"

§ by Cerlilied l\daii, Return Receipt Requested W_.§<§_:Ey Certified Mail, Retutn Reccipt ltequcsted
by iiirst Class Mail with ollieial Post Oliice y l irst Class l\/Iail with official Post Ofiiee
Certilicate ofMailing Certiticate ot`t `\dailing

nn or before APRIL 29. 2014 , shall bc deemed good and sutiicient

`PROOF OF SUCH SERVICE m a_\ he filed with the Clerk' in the Part
indicated abate nn the return date of this Order to Shon. Cnuse

Mail to Atterney‘ or party: Shcr;rf/Mamhm:
Kavullch &. Associates PC (Counscl for Pltl), at NYC MHl-Siml
181 Westcliester Avenue, Suite SOOC, I-zi¢gci, S;Ephem Mmhm
Pert Chester, New Yorlc 10573 109 W 33 St|_¢et

Sttlle 200

New rees NY 1001 seat s

April 23, 2014
lmra l-lon, Ruben Franco, Civil (_jom Judge (NYC)

 

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NEW YORK CITY MARSHA`L
Steplten W. Biegel
109 West 31"~3111 Street, Suite 200 ' New 'foric_. l\“r’ 100l ii .
'Pitonci {_2 121 MF~,RSl'if-‘tl- l`b'l"','f"-'l¢i'l$) ' l:"ax: fill §§ 395§-2{.`|00
i‘i"i’(§,`.@l\/Iarsbt-til$iegel .eorn t www.l'\leit.-'YorlaCityri\dttrsltal .coin

 

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21 l EAST BSTi-l S'l"

N`l-§W YORKNY lOUlti
JUI)GMENT CRI*.`¢I)ITOR
PlUtl\l/-*t CiR\OW`l'l-l l"ii?‘~lD l lsi’

VS

Ai-l DRES RP.UDA-RODRIGUEZ

-3543

.TUDGMEN'I.` DEB'I`OR
INC{}ME EXECUTZON - NO“[`I`CE GF LEVY PURSUANT TO SIBC. 5231 OF 'I“`H.]?. CI’LR.

Please take notice that the enclosed income Execution is a levy on the salary, wagcs, earnings
conimissions, etc of the iadgtnent Debtor (your etnployee`) and that you are required to immediately
deduct and remit 10% of the debtor‘s gross salary, wagesr earnings commissions ete.

Keep the income Exccution for your tiles. if there is a prior lncoine Execution against the ludgment
Debtor_. keep this one on tile until completion of the prior and then start remitting on this lncome
Execution. if the employee resigns and later is rehired, the lnconte i£xeeution is still in effect unless
the Marshal advises you to the contrary in writing

MAKE CHECI{S I’AYABLE TO MARSI‘IAL BIEGE`L.
Please include the judgment debter’s name and the docket # below to receive proper credit.

MARSI'IAL’S DOCKE'I` # Gtiltii}

 

 

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111 addition, interest front 03/31/14, will be calculated and when
payments approach cnmpletion, you will be notified of the final balance
due. Please fill out and return the attached forin.
(SNi`.`tSli\-'iil.i

|‘-’age 23

 

     

 

   
 
  

 

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___ _____________________ case trait-a na treaties
§y¢’ Fllana Growth Fund l Ll?, l film NG` mgm
` ii’laintifl”d mm ~ -. r_ . M_ ```````````` ~
against INCOME IL,XELCUTION
Andres Rauda' iiodrigucz, The PEO]_J].B of the £*il?-E»t*'="»
__ l.`lei`endttnt.le.l. Gf NEW YC)IL'}¢.
The following judgment W"“"" duly ii“t'~"l"~`d iii i€l\’m` 95 l`-llf‘- illlnlttill`l l_iutlt_.'tntutt crer.iitorl in the office of t'.he clerk of lh€-' “'i-llll“ ’~"O‘“`t'l
il¢_l““'t- n H.(.i_r_isst\.tll__[fl_ttta'r .li.atrr~l)s_ts littonnal_fltat.i.tta.t antoine-umta `l?l.a.s_i_=‘_\tent-s_t.__l fan

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COUNTY C)F ERONX

Tl'ie judgment Waa recovered against A:uirea linnda' Roririt_.’nca
.ti.\ttl ta*£lna\'!l`tpl'-¢d W\tlt tim county elerit(si of Brom: milwth fjudgmcm` lighting

W'IEREAS. this execution is issued against _‘\ncirea Rauda' il.otiric'uea defenfil-`H'tl bufllt“m“- ‘i°l’i“l"l
Wl'l¢.\fte last known address ief 501 W l'i`dtli Street
tipi,. fl¢l New i`urlt. l~T't' llJli!l.fi-SBl-i _ _
and said defendant (judggrnnnt debtorl is receiving or will receive from the li.`.mployer* whose maine and address te --
iCON PARli'.ll\lCi SYSTEMS, LI.C 211 EAS'.?.` dd'l`l‘i ST.
NEW YORH, NEWYORI{, 10010 .-lT'I‘N$ Payroll

More than $ ncr weelc. to wit ii to be paid weekly installment of 55 eachf
meantime E»ia,,lissa_atral»‘_e_et'-_‘iie.n_lie- liesraa._<)_[was`_tdalo_tsnn andre
bia

Wae-ts

Y¢in nrc directed wautisl`y the judgment with interest together with your feea' and expensel cut oi'all monies now and hereafter due
owing w the judgment debtor from the Einpioyer pursuant to CPI.ill. ‘il'= 513-31 d Il.i U.S.C 1671. et. Seq

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amount that can be wirhliald, liclowi of any and all aalary. wages er other incoine, including any and all overtime camings, commissions
or other irregular compensation received or hereafter t;o be received from your l?mnloyer and to continue paying such .insr..-illmanrs, omit

tim judgment with interest and tire fees and expenses of this income execution one fully paid and satial'ir-sril and if you fail to do so thi;§
lucme Ex¢¢;utinn will de imputed upon the Employt_'t' by the En.foreomenl'. Offir_‘ar.

wrean w the Employor: You ore consmnndccito withhold and pay over t,o the Ei_'tl'o_retnnent: Cinicer serving a copy of this lnconte
Em¢_»_“t§gn gm you-‘ installments nrcttiunl'..mg in 10% (lml; ltd more than tile .i*`t:tlnrt‘il llrntl.a nof. fourth in I. ]_.imiLnL‘icmn on the mrt¢_aunl_ L}mi_
mm he i,`rii,]-il~i¢;-]i;lr hclaw) of any and all salary. wages or other trico'cnel including any and all overtime earnings commissions cr ci-_hi_~ -

1 . 1 . l
irregular compensation now or hereafter becoming due to judgment debtor until the guti;;nicnt. with imart_»_$t find fees and nxpem% of mm
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“Etnploycr, " herain, includes an:.r payor ol' money to Jutlgntent Deln;or.

Important Statement

'1'1111; income execution directs the withholding of up to 10 percent of l-'l `

` l l tc inclement debt ~’ ` ~ »
liowever, state or federal law does not parent the witlthel¢llot; vi l-hfli 1111le ill fha i'~\tlttttwlll d'll>wl"t:u 5 grow mmmt-
l£ mfm_wd m NEW Ym.k aim program lmra and finles % 5231 and 15 l_lnit.erl Stale Codt~ % lli'?l etsi-iq

I.

n l.n certain easas.
gross income 'l'ite judgment debtor

limitation en the amount that can los withhold
1\,_ An income execution for installments from a
judgment debtors grants ineemc.

indeman debtors iri-oss income cannot exceed ten percent il(i%l of the

l-"ape 2-1

 

 

 

 

 

 

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E. if deductions ore being mode from

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l id _ ll HU‘!. tm these deductions nrc less then twentv'l'ive -
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the deductions from earnings mud

maintenance for family members

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b_ title et exceed twenty'iive ocrccntt?$‘iil o€‘giio judgmentdebtors disposable earnings
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l i)ercenttii:'i%l of the judgment debtors disposable esi'iiii‘t_ge.
. mms minimize under this income circulation l-l.<:~wcve.r. the amount arrived et l>.*" flddmt¢`
9 ‘-“ldil-"` l"h~\~‘i EX@fll-ll-lflrl l'f) the deductions marie from corning under unit orders for ulilT-mlli" 5“l¥ll-‘C“`t ""'
Cir fornml" B[Jtll-lil\?e` L'itl'¢ntll exceed twt'~_nl‘_‘\"fivo pei'c‘,!.ioi,t'.'gi'i} of tire judgment tl¢i!lltf.'ll"!i Lll$ll)il-‘i"hl"= nm'nmg$'

NGTE: NEl'»l`-li“'§ in this notice limits the proportion or amount, which may be deducted under any order for slimony.
support or maintenance for family members or former spouses

II. Explsnstion of Limitationc
Del`initioris

Disposoble .l`*lurnings - Disnosoble earning are that part el on individuals corning left after deducting those amouan that are required

by law to be withheld (for example taites, social security and unemployment insurance but not deduction for union tlue$. inti-~ll‘an€l=%
plons. etc...)

Gross lncome' Gross income is salary wages or other income ineludinlt ll!'t‘\' l\l'ld fill ¢l'\’l*-T'-"-“‘l€ i-’Hi"l“=l'i£€=`. mmml-‘-i-“"i"fl$\ and mci-lwe fm*l‘-
trustsl before any deductions ore made t'rozn such income

Illustrntions regarding earnings

~-':ttFW¢
' able ssrnin s is'- _ l v -
iii ‘li\ll]t?i:ies federal limitation wage Ponount to usir or deduct from earning under this income execution
al ('$175.50*) or less No payment or deduction allowed
‘ ‘ federal minimum 'l‘hc loss ol`- the excess over 30 times the federal minimum woge_

(b) ¥:;‘; E§?$£goriums l mm 1359 than ($1-75-50* ) in disposable earnings or 10% of gross earnings

40 times federal minimum wage

(3234.00* l
{C) 40 tlmEB the fEd€‘l`tll minimum WBEE The less of`- 25% o disposable earnings or 10% of gross earnings

($234.00* l or more

111 Notioe: Yuu may be ama to challenge ihig, income execution through the procedures provided in CPLR% 5231 ti) end
CPLR% BEM'J

lt ¢ou think that the amount of your income being deducted under this incomelexecuticn exceeds the amount permitted by state or
federal lcw. roe should net promptly becomes the money W\ll b'= “PI>l=_L*flti’ the J“W’-‘°_“i- _
lt you claim that the amount iii your income being deducted under this income execution exceeds the amount permitted by state oi-

l_udeml law you almond contact your nmplo_.,.m- or other person paying your income l"'urt.lior. "i'OU M.A'&' CONSUL.'!` AN .»Yi'l"I‘t'_lRl~.i’li*,Yl
lNCL-UDll\lG LEGAL AJD iii YQU QUA_LIFY_ New Yortt Stete law provides two procedures through which on income execution con be
challenged-

CPLR % 5231 (i) Modi_'Eicotion. At sny tiine, the judgment debtor may males a motion to a court for en order modifying an
income execution

CPLR % 521-10 Modificntioo or protective order: supervision ol' enforcement ttit any tiuie, the judgment debtor may magic a motion w a
court for so order dcnyl`ng. limitine. E°'ldil»l°"_i“s- \'Eti“l“l`»lllti- amending i“' mildlfW“E-' mm 1159 95 an' PQHE‘J“dtmi-int enforcement
procedure including the use of income executions _
*Basecl upon 34,25 minimum hourly wage. lteeelculnt/e end tose
Endorsementl _ _ _

Detc end Time execution received-

z't corrch figures ill t.llt.: minimum hourly wage ul‘i_un_goo.

Iostallmcnts paid to

 

here satisfied the judgment to the extent ol” iii

mm.o._.._,,_i_

 

 

 

 

 

Princi sl end $ interest l

p f Levymg officer Coumy
Retiirn to the judgment creditor or his attorney on _ "Mm_ because of inability w
\` d srnishse in the county. v am d-
Fm g l_.evying o[i'icsr Cmmty

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Case 1:19?@{/-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 26 of 44 Page|D #: 1330

ill,,;i:ii` the City oi` New York
grams fmle No.- C‘V-tn t tiziist)s!ax

    
  
  
 

 

 

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NDRES RA;;§§;§§;;GUEZ _:X€lls'~tl,l:§tlzttl€it;§iil'rrltl[\Na:-;sc”rron
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1 013;;@:::::@ :;EQE;BER?SY;IFWI/ ot set va item s'ritr£n‘t' set new rome now Yont

Cheek ali thor a,o;)ift{)
1 Creneral l`f)enial'. l deny the allegations in the complaint
§§\;BV!§ :E
ij l did

 

 

2 m not receives copy ol`tlic summons and complaint

3 _“___l recetved the Stlrn.mons and Cotnj.)laint, but service was not correct ns required by lane
4 wl do not owe this debt

5 _____ml` did not incur this debt. l am the victim oi" identity theft or mistaken identity

6 m l have paid all or part oi" tito alleged debt.

7 __“_l dispute the amount of the debt.

8 l do not have a business relationship with Plaintill`. ( `Plaintii'l:`lacl<s stantling,_`}

9 'l`ho NYC Depnrtmcttt oi`Cottstlrnet‘ !\l"l`nirs shows no record oi`t)|altttiffltaviitg a license to collect a debt_
10 umw `Plaintii"f" does not allege a debt collection license number in the Complaint.

ll W_ Statute of Limitations ( the time has passed to sue on this debt: more than six ycars.)

12 wm 'I`he debt has been discharged in bankruptc;t'.

13 _M'l`he collateral (pi'operty) was not sold at a commercially reasonable price

14 _W“ Unjust enrichment (the amount demanded is excessive compared with the original debt.)
15 _MM 'Violation of the duty ot`good faith and fair deal ing.

ts _"' unconscionability otto oooo~oot to oonir__i

17 wm Laeltes (plaintii'l` has excessively delayed in bringing this lawsuit to my disadvantage.)

18 wm Delicndant is in the military

19 _M Other: _ m Ms_

o'rr-i""ri§

20 Please take notice that my only source ol"income is lllllllllll ,wlticlt is exempt l"rom collectionl
cotii“~i"i'~'tsnecatm

21 C!ounterclairn(s):$ ,____ licason: w

 

 

varitt-‘ICA"rtoN- "_

 

finite oi"New York, County ol` Bronx ss:
ANDRES RAHDA“RODRIGUEZ.being duly sworn, deposes and says: l am the bei`endant: in this

i l l l proceedin . I have real t
Answcr in Wrttmg Consumer Crcdtt Transactton and know the contents thereof to be true t g l ‘ nn

 

 

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those matters stated on information and hellcf, and as to those matters l believe them to h true g “!Jl- ”h lO
- . . tea - "' ,
Sworn to belothl inc this _mMi)?DB__,._?U_”.. \JL [(<:` ~ :>F-¢l / ("../` M

-t. '\._..... .*'" u _...
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'-01627-CBA-RL|\/| DOCUment 55-2 Filed 01/29/18 Page 27 Of 44 Page|D #Z 1331

off¢hi,- City of Ncw `.t’or|~', Cotmty oi"Bronx

 

,..LE;M'_FUND l , .LP '“_"“~_f_.…i_ * ‘ d index c C.i`\"-llll l.lZ~l~ll‘:'l/l`i'x
5 "i'i'§lai n$t" JL"ll`illlil‘-`ll ill support o£`an miller to show entitle lt.`t
.. 55 RAUDA-RODRIGUEEL 't”t'_’£-Jlti)r¢ C;_»_\'._;e m the Cuh-:mj‘."` \.m::!l€: ,¢m}.j“dgan-L
*'MH lltm$ and income executions on this defendant on

this index nurnhcr.

__ Hllow pro rose-cl answer or dism isslnit the action
'r'ork, Cotinty of Ncw YLirk; _' l g

15 RAUDA-RUDRIGUl€z'h¢i“ll duly 5\"'0"\, deposes and sa\‘s:

 

a I have been served with a summons
:i) I have not been served, and my
ship #.3, #4, #5, and go to #6] l
_,L_” a Notice of" Del`ault lodginan mailed to me
“_ _ a ltcstraining Notice on my bank account _i C-*/~/(%
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l _.M _ acopyoi“ ~mt.;_..tl- _ * f h n
mo . ne :)‘ cease-ills amc

____ - `YFFMMMMWFPUML¢W/fg%zi'*'lr"e_{;¢;'m{.¢f;,.ff.emg, ““'"""“""““
3 d l ii not appear and answer{: in tlt" Clerlt's Olitcc becattsc:lN()TE;: ifyou complete sliding stop and go to tro|.
§§ §§ §§ ' l ') ~ ‘~ -

v and complaint in this action |NtJ'I'F.: itSmalt C.'taims skin #-3.» end 30 m ii 4l
ltrsl tlt`.\itce of legal adli(jtn was lN()'l`lt`.: llyou complete any of `#?.lJ.

 

 
   

 
  

` twice cit entir~riert'
b l did t t appear and answer in the Clci'k's Oil`tcc
and l received a date for trial.
but the answer was entered late
thtcr: _m m _

 
 

4. Ort the Date ot` Trial bci`ore ludge/Arbitrator _ _ _ _

a stipulation(a written agreemcnt) was made between clairnant/plamtitl and defendant

ajudginent was entered alter the trial. h n

a judgment was entered against me by default For my failure to appear.

Otiter: _ ms

5. ivly reason l`or not l _ l
complying with the stipulation tsi
following the order ot"the Caiirt is l l l q
appearing in court on the date scheduled for trial is
Otlicr: _

 

 

 

 

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a) I have not had a previous Order to Show Causc regarding this index numbert

 

    

 

 

 

  
  

7' b) 1 have had n previous Order to Sliow Cause regarding this index number but l arn making this application
_“ bccause: _
3 l request that the Judgment be vacated, that the ease he restored to thc calendai', that the answer be deemed

timely filed and permission to set'velltesa_papass-nrpcrsonrH

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5 C: <_/ (`Signl\lame) <’_m_. ’_ .¢F..»=Ff ,

 

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4 Page|D #Z 1334

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{‘l) F'RANA GROW|`H FUND 1, LP
1330»32 WHlTE PLNNS RD, ERDNX, NY 10462»

Shell recover et the nonoan pereas, addresees end identified ns debtors below:

 

Defendmrt'l demot'(el end acide

(1) AN-DRES RAUDA-RGDRIGUEZ
561 W. 174TH STREET #4~4. NEW YORK, N‘r' 10033-

 

Judgmanl entered ed the Brctmt Cout'tly Givil Cot.trt, 851 Grnnd Ceneourse, Brortx, NY 10451, in the STATE DF NEW YORK.

|rt the total amount of $3,$27.35 on 04!14!2£|09 et 12:18 PM.
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Judgment sequence 1
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x’ OF ERONX

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PLMNTIFF(S) AFFIDA\/t‘t‘ eF mate
CONSTlTUTtNG Tl-IE cLAtM
AGMNST me Det'-‘AULT ,tt~tn me
AMOUNT nutt

Andrcs Rauti:t~ Redriguez
‘ DEFENDANT(S)

STATE O‘F NEW YORK COUNTY OI" WESTCHES‘!`IER
esa GARY KAVULICH, eeQ. t-lEREBY DEP<:)SES AND steve 'uNDER Tt-tri PlzNA'I,TIEe t_`)r~‘ PLJR)URY, Tt-IAT DEPONI£NT te "rI-n;-;
ATTORNEY FOR Tl-{E PLAlNTlF'E-`{S) lN 'I'HE WlTHlN AC‘!'!`ON'. THlS ACTI`ION Wt-‘\S COMMENCED BY SUBS*I‘ITUED SIERV'ICE
OI`~` 'I`HE SUMMONS AND C(JI\'IFI,»XINT UI’ON DEFENDAN']`(S`J AND IS AN ACTION FOR RENT DUE AND DWING FOR (A.F I`ER
APPI_.ICATION OF PAYMENT ANIJ SECUR.!TY DIEl’GSIT) `
October, 2006 baiencc ef$471‘26
Nevembet',BOOE 3373.54
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lanuery, 2007 $373.54
AT THE AGI{I;”“».ED MDNTHLY REN'I`AL OF 3873.54
ALL OTHER CAUSE.$ 017 ACTION ARE HEREBY WAI\’I§I) ANI) I)lSPOSED. AFTER A COMI’LETE AND THOROUGH
I'NVESTIGMlON “I`I-il§ DEFENDANT 13 mule No‘l* '1“0 lee IN ‘1‘|-11=, Mch'r‘AttY AND ttt:emes WITI\IIN THE ctTY OF NEW
YORI-£. RENT WAS NOT FAID B‘( ,+\NY O'l`l-lER SOURC!E. I MAKE 'I`HIS AFFIRMATION UPON INFORMATION AND BEI.lEF, A
BELIEF PREDICATE[.) UPON CONVERSATIONS WI'I`H MY CLIENT, M‘z’ INVOLVEMEN'I` IN TI'IE PROCEEDING AND READJ'NG
'I`l-IE FILE I`N THIS C-ASE.
SECOND AND ']'l"IIRD CAUSES OF ACTION ARE HER_EBY WAIVED. _
W}'r-IHR.EFOILE DE,PONENT DEMANDS JUDGM!`:§NT AGAlNS'I` .IJEFEN/ Fl . ¢ "
1()/11'2006 'l`OC`jIET¥‘IER WITH COSTS AND DISBUR.SEMENTS DF THE ACT i‘*" ‘»'“"f /
KAVULICI'I & ASSO ATES, P.C.
BY: GAR`\’ KAV'ULICH, ESQ.
30 CI~IU`RCH STREET, SUITE 26

NEW ROCHELLE, NY 10801

      

  
   
 
 

SBWIT 1'1 B‘~I'I`EREST FROM

 
    
 

TO THE. DEFENI`)AN"I`(S): PI..EASE TA`KE NOTICE TI'IA'I` 'I"HE WITHI`N IS A TRUE COPY C\F A JUDGMENT MAIJE AND
.EN“I`ER.E.IJ I`N 'I`HH W]THIN ENTITLED AC'I`ION AND DULY I*`ILED IN THE OFFICE DF THE CLER.K OF THE COUNT ON

DATED: WESTCHESTER, NY YOURS, E'I`C.,
4/6£2009 ATTORNEYS FOR PLAINTIFF
STATE OF NEW YDR_K, COUNTY DF SS:

BEING DULY SWORN, DEPOSES AND SAYS; THAT DEPGNENT 13 NOT A FARTY Tct THE ACTION, le oven 13 YraAltS mr AGE
AND RESIDES IN

Tt»rAT ot~t DEPQNENT semen A TRUE copy err “rl-te Wl'rttstt meet/teer AND donee 01= ENTRY Tttertltc)e
(EA<;H OF) THE FOLLDWING NAMED DEFENDANT(S) AT '1*1-113 ADDRESS(ES) £NDICATED (FOR EACH);

BY DEPOS!TI`NG SAME ENCLOSED YN POSTI"AID I’ROPER_L`!’ ADDRESSED WRAPPER(S), TN -A POST OFFICF.- OF]T[CI‘A]__
DEPDSITORY UNDER 'l`HE EXCLUSIVE CAR.E A`ND CUSTODY OF TI-IE UNITED STAT`ES POSTAL SER,VICE WITI-[H\I NEW

YDRK S‘I`ATE.

 
 
      
      

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Case

 

-44-\-Pag€|D #Z 1336

JURT O}"` THE CITY OF NEW ‘{ORK
Y OF BR.ONX

_____________________________________________________ INDEX NQ, 11024!09
firewt!t Fund 1 Ll*,

lPL!'».Il'~-"l"IFF(S] AFFIDAVI']` OF
` MAIUNG OF ADD['I`IONAI.
-AC_#\!NC‘S`I`- NO'I'!CE OF SU!T

t\.r‘tcires Rttucl:t~ Rodrigue:;

DEFENDAN'{'(S)
eTA't‘e mt draw YORK) """""""
cowen err wEsTcHEsTett) Sg,

GAR'¥' KAVULICI‘I, ESQ., BEING DULY SWURN HEREBY DEI’{`)SES ANI.) SAYS:
l. I AM THE A'I'I`ORNEY f"OR. THE PLAINTII:F(`S) HEREI`N.

2. THE ABOVR ENTITLED AC.`TION 13 A.GA[NS'I` A NA"[`URAL PERSON .-".ND `IS BA$E`D
UP‘C)N NON PAYMEN'I` 01"“ A CONTRACTUAL OBLIGATION.

3. ON 3f 1312009,1 M`AILED A COPY DF THE SUMM`ONS AND COMPI,A.[NT l`N THE ABOVE EN'I`ITLED AC'I`ION }BY DEI’OSITING
THE ENVELOPE lN AN OFFICIAL DI:`.I’OSITGRY UNDER THE EXCI.USIVE CARIS AND CUSTODY OF '1' HE U.S. POSTAL
SERVlCE WITI']IN NEW YC'RK. STATE. SAI'D MAILING W!\S BY FlRST CLASS MA]L IN A POSTPAID ENVE.LOPE, PROPERLY
ADDR,ESSED ‘1`0 THE DEFENDANT(S), THE ENVELOPE BC)RE THE LEGEND

"PERSDNAL & CONFIDENTIAL" AN`D 'I`I‘IERE WAS ND INDI`CA.'E‘I`ON ON THE OUTSI`DE OF THE ENVIF.LOPE 11-1A'I’ THE
CO`M`MUNICAT[ON WAS FROM A.N A']"f`OIU‘~JEY OR CONCERNED AN A.LLEGED D}`_+`.B“[`. A'l` !DEFENDANT(S):

»">{-LAST KNOWN ADDRESS AT; Andres Rauda- Rudrigucz: 561 W 174111 Sirc:et Apt. 44 N¢:w York, NY 10033-3214
------- PLACE OF EM,I>LOYM.ENT AT:

THE ENVELOPE BORE THE LEGEND “PERSONAL & COT\I'FIDEN'I`IAL" AND 'I`I-I.ER.E

WA$ NO TNDICAT!ON GN “I`I~IE OUTSTDE OF THE ENVELOPE TH!\.'[` THE

COMMU`NICA’I`ION WAS FROM AN ATTORNEY OR CONCERNED AN ALLEGED DEB'I`.

~~~~~~~ A KNDWN ADDR_ESS OF THE DEF]ENDANT AT:

THIS ADDRESS IS NOT THE R.ESIDENCE GR PLAC[", C`)F EMPLO`YMENT OF THE l`)EI"ENDAN'I`.

   
 
 

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Pagtt 32

 

 

   

ease 1:cv-01627-» ‘ Page 33"01‘ 44 PagelD #: 1337

C.IVIL COURT OF THE CI`I'Y OF NEW YORK.

 

COUNTY OF BRONX
"' """"" -X
Prana Grow’tlt Funci 1 LP‘,
index No. 11024/09
Filc Nc. 1619
Plaintit`f,
-against~ AFFIDAV`IT OF
INVESTIGA'!`OR
Andrt:s Raudat Rodriguea
Dof`endant(s).
.............................................................. `X
STA'TE DF NEW YORK. )
)SS.:

COUNTY OF WBSTCHESTER )

l am over IB years of agc, am not a party to this action and reside in Wcstchcstcr County,
State of Ncw York.

I have been requested by Kavttliclt & Associtttcs, P.C. attorney for thc P]aintit`i`, to make
an investigation to ascertain if the Dcfcndnnt(s) Andrcs Rnuda~ Rodrigucz is at thc present
time in military service for thc purpose of entry cfjudgmcnt.

C)n April 6, 2009, 1 Denisc Mirsnda, contacted the Dcionsc manpower Datc Ccnter
concerning the l“)ci`cnctant Andrcs Rauda- Rodn`gncz military status.

I inputtcd thc social security numbor, as provided by the Dcfcndnnt, into the Dcfensc
Manpowcr Datn Ct:ntcr.

Undcr thc Dct'cndant‘s social security number I received an affidavit from thc Dcfcnsc
Manpowcr Dats Ccntcr stating that thc said Dcf`cndttnt is not currently in thc military

service of the Uniteti Statcs and the Stato of Ncw Yorlt (N@ard).
M

Dcnise Mirand‘t't

Sworn to before me t `
bay er,Q)g; , 2009

Notary Public

PB§]G 33

 

 

 

CaS€ ltl§.-_CV-Ol€Z?-CBA-RL|\/| _D.QC.LLUJ,ED.LBB;Z Filed 01/29/18 Page 34 Of 44 Page|D #Z 1338

,U]¥.T OF THE Cl‘i`Y OF NEW ‘{ORK_
t' OF.BRONX

 

--..-- --); INDEX NO:
FILE NO: 1619
la Growth Fu.nd 1 LP, Pl.AtN'i'iFF,
-AGAI`NST- AFFIRMATION OF I"AC'i`S
CONSTITU'TTI_‘~JG '1'.1‘11"‘,
Andres `Rauda» Rodriguez, [)p.p;j;N[MNT(S) AMOUNT DUE
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hereby deposes and says under the penalties of perjury. sss _ _ l
That deponent is the managing agent of Prana Growth Fund 1 L,P, P|aintiff in the within action;_thts action was
commenced by substituted service of the summons and complaint upon defendant(s) and ls an action for
breach of a lease agreement in the amount of ss,t)sl.ss for the months October, 2006 balance of
5471.26;November, 2006 through and including January, 2007 at the agreed monthly rental amount of
$873.54_per month; (aiter application of security and after application of payments) no part having been
paid, although duly demanded A|l other causes of action are hereby waived and disposed of. After a
complete and thorough investigation as l have-been informed by Plaintiff ' s counsel, the defendant(s)
is/are found not to be in the military and reside(s) in the City of New Yorlt. Rent Was not paid by any other
souroe. l make this affirmation upon personal Knowledge.

WHEREFORE, Plaintiti demands judgment against defendant for ss,t)st.ss with interest from October 1, 2006
togethar_wlth costs and disbursements of the action.

 

Dated: 1/19/2009

 

 

Sworn to before me _` ` 3
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Comrnission prires January‘zz, 211 ll

Page 34

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l q li\/iiiitary Status Report
ursuant to the Seiviceineinbers Civil Reliet` Act

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*t-'§ Last Naine Flrsthiddic Bcgiti lijl:ite Active Duty Status Sert'ice/Agcncy
RAUDA- RODRIG`UEZ ANDRES 173-ased ott the information you have i"uriiished, the i:)MDC does not
llossess any information indicating that thc individual is currently on
active duty.

 

 

 

 

 

 

 

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rea cea

Mary ivi. Snavely»i)ixon, Director

l`,`lcpartment of Det`ense a Manpovver Data Center
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

The Dei`ense Manpower Dnta Center (DMI)C) is art organization oi" the Departnrcnt of Dei`ense that maintains
the Defense Eriroilment and Eligibility chorting Sysrem (DEERS) database which is the official source ot`
data on eligibility for military medical care and other eligibility systems

'I`he Department oi`DefenSe strongly supports tile enforcement ol`t}‘ic Serviccmembcrs Civii Reiiet`Act. [50
USCS Appx.. §§ 501 et seq] (SCRA) (l:`orincriy the Soldiers' and Sailors' Civil itelict` Act of 1940). DM.DC has
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any family meniber, friend, cr representative asserts in any mamier that the individual is on active duty, or is
otherwise entitled to the protections ofthc SCRA, you are strongly encouraged to obtain tiirther verification oi"
the pcrsoi'i's active duty status by contacting that person's lvliiitary Servicc via the "dct`cnselinlcrnii“ URL
provided below. If` you have evidence the person is on activesduty and you l"aii to obtain this additional
Military Scrvice verification provisions ot` the SCR.A maybe invoked against you.

lf you obtain further information about the person (e, i., an SSN, improved accuracy ol'I)OB, n middle muncy
you can submit your request again at this Web site and we will provide a new certificate for that qucry.

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 37 of 44 Page|D #: 1341
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Andrcs Rauda- Rodriguez
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KAVUL.ICI"I & ASSOO¥£TES. P,C.
B‘i’: GARY KAVULICI“{, ESQ.

30 CHURCl-l S'l'R_EET, SUITE 26
NEW ROCHELLE, NY 10301

TO THE DEFENDANT(S): PLEASE TAKE NOTICE THAT THE WITHIN IS A TRUE COPY OF A JUDGMIENT MADE A`ND
ENTERED IN THE WITI-IIN ENTITLED AC'l`ION AN`D DUL.Y I"`lLEi.`.\ iii THE OFPICE OF THE CI.,ERK OF THE COUNT ON

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GAR.Y K.AV`ULICI:{, ESQ., lBEINCi DUL‘¢’ SWORN iiERl`:`[lY DEI*OSES AND fidde
1. I AM THE A'l`l"ORNlEY `FOR THE PLA]`NTIFF(S) H`liRlil`N.

l THE ABOVE EN'I`lTLE[) ACTION 13 AGAI`NS‘I` A NA‘I`URAL I’ERSON AND 15 BASEI.`J
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~“~><LAST l-CNDWN ADDRESS A'l`: Aridtes Raiida- itodriguea: 561 W l'i'-ith Strect Apt 44 Ne\v\’orl<, N‘¥’ 1003348214
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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 39 of 44 Pagé"i`ij`it_i:_`_l`§Z,"§"m""

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_ _ Fi'lc No. 1619
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-agaiiist- AFFIDAVIT Ot`*'
Andres Rauda- Rcdrigncz [NWLS luch l ma
Dct`endaut(s).
.............................................................. x
STATE OF NEW YORK )

l)SS.:
COUNTY DF WESTC`.HESTF,.R )

1 ant over 13 years ct`age1 am not a party to this action and reside

_ in Westchester Courity,
State of New Yorit.

I have been requested by Kavulich i£: Associ`ates, P.C'. attorney tier the Plaintil't`1 tc make

an investigation to ascertain it' the Det‘cnclant(s) Audrcs `Rauda- Rodrigucz is at the present
time in military service for the purpose ot` entry ot` judgment

On Apri`l ti, 2009, l Denise Miranda, contacted the Defensc manpower Diite Center
concerning the Det`endant Andrcs Rauda- Rcdriguea military stanis.

1 imported the social security riuniber, as provided by the Det`enclant, into the l')et`ense
Manpower Data Center.

Under the Dct`cndaut's social security number l received an affidavit i`rorn the Det`cnsc
Mtiripovver Data Center stating that the said Det`cndant is not currently in ilic military

service of the Uriited States and the State ot"New Yorit {Ni@ard).
.r§*“““`\

Dcnise Mirattt'rit

S\vorri to before nrc tlii
'n) Dsy et 75,'§5?.1 , 2009

Notary Pubtic

   
 

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 40 of 44 Page|D #: 1344

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hereby deposes and says under the penalties of perjury, ss:

That deponent is the managing agent of Prana Growth Funrl l LP, Plaintiit in the within action; this action was
commenced by substituted service of the summons and complaint upon detendant{s) and is an action for
breach of a lease agreement in the amount of ss,aal.ss for the months October, 2006 balance of
3471.26;November, 2000 through and including danuary, 200? at the agreed monthly rental amount of
$873.54 per month; (ai'ter application of security and after application of payments) no part having been
paid, although duly demanded A|l other causes of action are hereby waived and disposed of. After a
complete and thorough investigation, as l have been informed by Plaintifi ' s oounsel, the defendant(s)
isfare found not to be in the military and reside(s) in the Gity of New Yorl<. Rent was not paid by any other
source l make this affirmation upon personal Knowiedge.

WHEREFORE, Plaintifi demands judgment against defendant for ss,nt>t.ss With interest from Cletobcr t, 2006
together_with costs and disbursements of the action.

Deted: 1/19/2009

 

 

Sworn to before me ,

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Cas'é 1:16-cv-01627-CBA-Rt_t\/t Document 55-2 t=ited 01/29/"1`§ Page 41 or 44 Pageto #: '1‘345'”"""

         

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RAUDA- RODRIGUHZ.’. AN`DRES iiased on the information you have furnished1 the DM`DC does not
possess any information indicating that the individual is currently on

 

 

 

 

active duty.

 

inon searching the information data banks of tlte Departtncnt ot`l)efensc Manpovver Data Ccnten based on the
information that you prt:tvided1 the above is the current status of the individual as to all branches cl the
iviilitary.

nasa susan

lvlaty M. Snavely-Dixon, Director

Department of Defense - Manpo\ver Data Center
lliOO Wilson `Blvdr, Suite 400

At'lington, VA. 22209~2593

 

The ]Dcl`ense ivlanpower Data Centcr (I`JMDC) is an organization of the Dcpartment of Defetise that maintains
the Det`ense Enrollment and Eligibility lteporting System (DEERS) database which is the official source ot
data on eligibility for military medical care and other eligibility systems.

The Dcpart‘rnent ot` befense strongly supports the enforcement of the Serviecmcmbers Civil Relief Act [50
USCS Appx. §§ 501 et seq] (SCRA) (i`omterly the Solciicrs' and Saiiors' Civil Relici`f\ct oi` 1940). UM"DC has
issued hundreds of thousands of “docs not possess atty inforl'nation indicating that the individual is currently on
active duty" responses, and has experienced a small error rate. In the event the individual referenced above, or
any family mertal:»ers friend, or representative asserts in any manner that the individual is on active duty, otis
otherwise entitled to the protections of the SCRA, you arc strongly encouraged to obtain further verification of
the person's active duty status by contacting that person's l\/.'lilitary Servicc via the "dcfenselinlc.rnil" l.ilt.ld
provided belo\v, lf you have evidence the person is on active-duty and you fail to obtain this additional
lvl`ilitary Service verification, provisions of the SCRA may be invoked against you.

It` you obtain further information about the person ( e.g., an SSN, improved accuracy of DOB, a middle natne),
you can submit your request again at this Web site and we will provide a new certificate for that query

This response reflects current active duty status only. tier historical int`omtation, please contact the l\/lililary
Service SC.`RA points-of-cont'aet.

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WARNING: This certificate was provided based on a name and Bocial Securlty number (SSN) provided by the
requester. Pro‘vlding an erroneous carrie cr SSN will cause an erroneous certificate to be provided.

 

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Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 42 of 44 Page|D #: 1346

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civilJ count or 'rt»aa cjn"v or uaw volts Ir§dst»' N<’- l 1024/09
county or enor~tx F "`“l‘ ---w»~“~------

Attorneys: Kavulich dc Associates, P.C. _ _ _
nearer-te so church susan suits 26, Ncw lleshslle NY 1030' Fll‘i N‘" 16 19

PRA`NA GROWTl-l FUND l l-l’,
vs.
ANDRE$ RALJDA-RODR`[GUEZ¢
State of New Yorlr County ofl‘~lassau SS:
.Q,ll'.-Ll.itl.§lM. being duly sworn deposes and says:
D¢P¢mnnt is not a party herein, is over lll years ofage. On _l_i“e,b“rgpmtl_l 3, 20§9 ar M_:§lgagmc

At: 561 W. l’i'-tT" St[gg§, Apt. jj, New Yog§, NY 1003}~3214 served the within Sumrnons and
Complaint on: ANDRES RAUDA-RODRIGUEZ, Defcndant therin named

individual By delivering a true copy of each to said reelpicnt: deponent knew the person

[1 served to be thc person described as said person therein.
Corporat'ion l?.y delivering to and leaving with and that deponent knew the
[ l person so served and authorized to accept service on behalf ofthe Corporation

Suitable Ag,c By delivering a tma copy of each to a person of suitable age and discretion

Pcrson Said premises is recipients [ ] actual place of business [X] dwelling house wiilirn the
[X] statc.
At'iitting By affixing a fmc copy of each to the door oi` said prcrniscs, whieh' ts reeipients"_l`;
to Door [} actual place ot` business [X] dwelling house (placc cfabode) within the static '
ne t _'
` M`ail Copy On Febt'uary ld, 2002 deponent completed service under the last two sections by ` .`u
t l ] depositing a copy of the Summons and Complaint to the above address in a l‘t

Class properly addressed envelope marked “Personal and Conlidential” in an official
depository under thc exclusive care and custody of thc United States Post Oiiice in the Statc
ofNew Yorlt.

Deponent was ttnable, with due diligence to find the recipient or a person of suitable age
and discretion having called thereat:

On the day of at
On the day of at
On the day of at

Dcscriptiou A description oftltc Defendnnt, or other person served on behalf of the I)efcndant
[] Sex;_F_ Color ofskin: _[_?;B\l§lw(.`olor ofl~lai.r:ms_l§ Age: ,z,§_-_ll;_Ql-lcight;“ ’§" Wg;ghr; t§g[ §§

Military Svcc Deponcnt asked person spoken to whether the recipient was presently in military
[ X] service ofthc Unilctl States Government or of the State of New York and was
informed that the recipient is _ot Recipient wore civilian clothes and no military uniform
Otitcr

[X]”.lane Dcc’* stated that the Dcfendant` rs not tn the military /)
Swornto ‘ . ` / ' day of7@?' /
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'“”'"""““"" Case 1:16-cv-01627-CBA-RLI\/| Document 55-2 Filed 01/29/18 Page 43 of 44 Page|D #: 1347

CIVi.L COURT OF THE Cl'l`Y OI*` NEW YORK

COU`NTY OF BRONX
______________________________________________________ x
`Prana Growth Fund 1l LP, l `_ H j ( it
Plaintift`, INDEX NO. tr t ‘
Fli.rii NO. 1619
~ttgainst-
SUMMONS
Place of Venue is Plnintit"l”s
place oibusiness:
Andres Rauda- Rodriguez,
1380~82 White Piains Road
Bronx, N`Y 10462
Del`cndant(s)
______________________________________________________ x

To the above named defendants(s):

YOU ARE HEREBY SU`M`MONED to appear at the ClViL COU:RT OF THE CITY Ol"
NEW YORK, COUNTY OF BRONX at the office ol" the clerk of the said Cout't at 351 Grancl
Conconrse, Bronx, NY 10451, in the COUNTY OF BRONX, State of New York, Within the
time provided by law as noted below and to tile an answer to the below complaint with the
cleric: upon your failure to answer, judgment will be taken against you t`or the sum o - .
with interest thereon from Octoher l, 2006 together with costs of this actio .

 
  
 

DATED: .ianuary 19, 2009

Kavnlieh de Associntes, l’.C.`.
Attorney for i-’laintifi`

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" ' " ¢'c`tc:l e, il ’
(Ql¢l) 355-2074 ii

intl 2 ii Rl`ltl§

 

s._ _,a

Defenclant’s Address:
Andres Raudad Rodriguez
561 W 174th Street, Apt. 44
Ncw Yorl{, N`Y 10033“8214

Note: The law provides than (a) It` the summons is " ytts delivery to you personally
WithiI-, the Clty ot`Ncw Yoric, you must appear and answer Within TWEN'I."Y days after such
mwi¢g; or (b) if the situations is served by any means other than personal delivery to you
thhjn the City ol" Ncw Yorlc, you must appear and answer within 'l`l*ll`R'l`Y days alter proof ot`
service thereof is filed with the Clerk ol` this Court. l

 

 

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`“ ease 1:16-cv-01627-CBA-Rl_1\/l Docnment 55-2 Filed 01/29/13 Page 44 of 44 Pagelo #: 1343

CUMPI..AINT

MM””__ILQE: Plaintili seeks to recover damages from dcietttlatlt(s) for breach ot" a lease
agreement in the sum ol` 33,091.38 representing rental arrears for the months ol`Oetcber, 2006
balance ol.` 5471.26; Novembet, 2006 through and including January, 2007 at the agreed
monthly sum of 5873.54 f"or the premises known as 1380~82 Whitc Plains Road, Apt.BB

Brot'ix, NY 10462 together with costs and disbursements oi` this action and i`or such other and
further relief as the court may deem just. l

SECOND ACTION: .l?laintifi` seeks to recover damages from the defendant in the sum of $0.00

representing damages together with costs and disbursements of this action and for such other
and further relief as the Court may deem just.

THIRI) ACTION: Plaintii`l` seeks to recover damages from the defendant in the sum of
$500.00 representing reasonable attorneys l`ccs together with costs and disbursements oi` this
action and for such other further relief as the Court may deem just.

WHEREFORE, Plaintif`t` demands judgment (A) on the First Action, in the sum ol'$3,091.88
plus interest from October l, 2006 together with costs and disbursements of` this action and for
such other and Further relief as the Court may deem just, (B) on the Second Action, in the sum
of 0.000 plus interest from Octobcr l, 2006 together with costs and disbursements of this
action and for such other and further relief as the Court may deem just, (C) on the Tltird
Action, in the sum ot` $500.00 together with costs and disbursements ol" this action and t`or
such other and further relief as the Court may deem just.

“[`hc Plaintit"t` in this action is NOT required to be licensed by the New York City
Department of Consumcr Aft`airs.

Pnge 44

 

 

